                  IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION
BLUEWATER MUSIC SERVICES
CORPORATION,
                        Plaintiff(s),
                                        Case No. 3:17-cv-1051
v.
                                        District Judge Jon Phipps McCalla
SPOTIFY USA INC.,
                                        Magistrate Judge Jeffrey S. Frensley
                        Defendant.


ROBERT GAUDIO, et al.
                            Plaintiff(s),

v.                                                 Case No. 3:17-cv-1052

SPOTIFY USA INC.,                                  District Judge Jon Phipps McCalla

                            Defendant.             Magistrate Judge Jeffrey S. Frensley


A4V DIGITAL, INC., et al.
                            Plaintiff(s),

v.                                                 Case No. 3:17-cv-1256

SPOTIFY USA INC.,                                  District Judge Jon Phipps McCalla

                            Defendant.             Magistrate Judge Jeffrey S. Frensley


ROBERTSON, et al.
                            Plaintiff(s),

v.                                                 Case No. 3:17-cv-1616

SPOTIFY USA INC.,                                  District Judge Jon Phipps McCalla

                            Defendant.             Magistrate Judge Jeffrey S. Frensley




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             PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF ITS
           MOTION TO COMPEL FURTHER RESPONSES TO PLAINTIFFS’
           FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

                                      I.   INTRODUCTION

       Plaintiffs, Bluewater Music Services Corporation, et. al.; Robert Gaudio, et al.; A4V

Digital, Inc., et. al.; Robertson, et. al., hereinafter (“Collectively Plaintiffs”) submit this

Memorandum of Law in Support of their Motion to Compel Production of Documents to which

Plaintiffs are entitled. For the reasons stated herein, Defendant Spotify USA Inc. (“Defendant” or

“Spotify”) should be required to provide full and complete responses to Plaintiffs’ First Set of

Requests for Production of Documents.

       Plaintiffs crafted narrowly tailored discovery requests that were specific and designed to

elicit specific information related to Plaintiffs’ claims in this lawsuit. Many of the discovery

requests are directly related to allegations detailed in the Complaints. Despite narrowly tailoring

these requests, Plaintiffs have been met with resistance from Spotify at every turn. Plaintiffs have

waited nearly five (5) months for responses to discovery. Plaintiffs have expended substantial

resources in taking good faith efforts to resolve these issues through the meet and confer process.

Despite this, Defendant has refused to comply with the Federal Rules of Civil Procedure and

produce documents responsive to Plaintiffs’ First Set of Requests for Production of Documents.

Having reached an impasse in the meet and confer process, Plaintiffs now bring this Motion to

Compel and respectfully request the Court to issue an Order Compelling Spotify to respond

completely to the discovery requests at issue, overrule each of Defendant’s objections thereto, and

produce all responsive documents.




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                                   II.    LEGAL STANDARD

       Pursuant to Federal Rule of Civil Procedure 37, a Motion to Compel is proper when a party

has failed to comply with discovery requests. Specially, Rule 37(a)(3)(B) provides “A party

seeking discovery may move for an order compelling an answer, designation, production or

inspection.” This motion may be made if: …. “(iv) a party fails to produce documents or fails to

respond that inspection will be permitted — or fails to permit inspection — as requested under

Rule 34.”

       The Supreme Court has stated that because “discovery itself is designed to help define and

clarify the issue,” Federal Rule of Civil Procedure 26 has been “construed broadly to encompass

any matter that bears on, or that reasonably could lead to other matter that could bear on, any issue

that is or may be in the case.” Marsico v. Sears Holding Corp., 370 F. App'x 658, 664 (6th Cir.

2010) (citing Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)). Federal Rule of Civil

Procedure 26 states: “Parties may obtain discovery regarding any nonprivileged matter that is

relevant to any party’s claim or defense and proportional to the needs of the case” as long as it is

otherwise within the scope of discovery. Fed. R. Civ. P. 26(b)(1). Relevancy at the discovery state

is broadly defined and the parties have a right to conduct discovery to determine the facts of their

case. Osborn v. Griffin, No. 11-89-WOB-CJS, 2013 U.S. Dist. LEXIS 201060, at *20 (E.D. Ky.

July 17, 2013); The information sought need not be admissible in court to be relevant.

       Here, the discovery sought is directly related to Plaintiffs’ claims in the lawsuit.

Furthermore, considering the importance of the issues at stake, the large amount in controversy,

Spotify’s massive success, that as Plaintiffs’ allege is substantially supported by copyright

infringement, the substantial resources of Spotify, and the importance in discovering the true extent

of the copyright infringement, the discovery sought by Plaintiffs must be produced. In this type



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of case wherein Plaintiffs allege that Spotify committed willful copyright infringement by refusing

to comply with U.S. Copyright law, Plaintiffs should be allowed broad and liberal discovery.

       In this Circuit, the scope of discovery is “is . . . within the broad discretion of the trial

court.” Smith & Nephew, Inc. v Fed. Ins. Co., No. 02-2455 B/An , 2005 U.S. Dist. LEXIS 31309,

at *10 (W.D. Tenn. Nov. 10, 2005) citing Lewis v. ACB Business Servs. Inc., 135 F.3d 389, 402

(6th Cir. 1998). The United States Supreme Court has also noted that discovery should be both

broad and liberal. Id; See Schlagenhauf v. Holder, 379 U.S. 104, 114-15 (1964) citing Hickman v.

Taylor, 329 U.S. 495, 507, (1947). Plaintiffs’ discovery seeks documents that supports Plaintiffs’

copyright infringement claim against Defendant.

      III.   SUMMARY OF DISCOVERY REQUESTS AND MEET AND CONFER

       On December 19, 2017, Plaintiffs served Defendant with their First Set of Requests for

Production of Documents (“Request for Production”). (See attached Exhibit A). Responses to

Plaintiffs’ Request for Production were due within 30 days. However, upon agreement, on January,

17, 2018 the parties adopted the Initial Case Management Order, which stayed discovery until

February 19, 2018. (Bluewater, Doc. 56, ⁋ 7(b)).

       On February 26, 2018, pursuant to the Order Granting Joint Motion to Extend Certain

Discovery which extended the deadline to February 26, 2018, Defendant responded to Plaintiffs’

Request for Production and produced Defendant’s Objections and Responses to Plaintiffs’ First

Set of Requests for Production of Documents (“Defendant’s Responses”). Defendant’s Responses

include blanket objections for all eighty-six (86) Requests. (See attached Exhibit A)

       Plaintiffs determined that Defendant’s Responses were deficient and contained

unjustifiable objections. By letter dated March 13, 2018 counsel for Plaintiffs requested Defendant

to re-consider its objections and respond to the discovery requests, additionally counsel for


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Plaintiffs requested to meet and confer. (See attached Exhibit B). By letter dated March 23, 2018

Defendant agreed to produce documents for the following Requests: Nos. 3, 4, 5, 6, 9, 10, 12, 13,

14, 17, 18, 22, 23, 24, 25, 26, 28, 30, 31, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 45, 46, 49, 50,

51, 52, 53, 55, 56, 57, 58, 59, 60, 61, 64, 65, 66, 67, 71, 72, 73, 76, 77. (See attached Exhibit C).

       On March 23, 2018 and March 26, 2018, the parties held a telephonic meet and confer

conference to discuss Defendant’s Responses, specifically to discuss the scope and meaning of the

following Requests: Nos. 1-2, 11, 21, 7-8, 15, 16, 19, 27, 29, 44, 54, 62-63, 68, 69, 70, 74-75. By

letter dated April 6, 2018, counsel for Plaintiffs again requested that Defendant re-consider its

objections and respond to the discovery requests, additionally Plaintiffs outlined the relevancy of

each Requests. (See attached Exhibit D). By letter dated April 13, 2018, counsel for Defendant

assured Plaintiffs they were reviewing the April 6, 2018 letter and would respond promptly. (See

attached Exhibit E). Further, by letter dated on April 27, 2018, Defendant responded and agreed

to produce in addition to the above requests the following: Nos. 27, 29, 47, 48, 74, 75, 78, 79, 80,

83, 84, 85, and 86. (See attached Exhibit F).

       In effort to finalize Defendant’s Responses and move discovery forward, Plaintiffs by letter

dated May 2, 2018, requested that Spotify respond in full to the remaining nineteen (19) requests

and submitted the basis for Plaintiffs position that responses were warranted. Plaintiffs further

notified Defendant that it planned to file a Motion to Compel if Defendant did not respond, in full,

to the remaining issues in dispute. (See attached Exhibit G). By letter dated May 7, 2018 Defendant

responded and agreed to produce in addition to the above requests the following: Nos. 7, 8, 44, 54,

63, 69, and 82. (See attached Exhibit H).

       As of May 8, 2018, the parties have reached an impasse on the remaining twelve (12)

Requests, specifically Requests Nos: 1, 2, 11, 15, 16, 19, 20, 21, 62, 68, 70, 81. The May 7, 2018



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letter sent by Defendant’s details Spotify’s refusal to produce documents for Request Nos. 1, 2,

11, 20, 21, and 81. (See attached Exhibit H). Further, the letter details Spotify’s objections to

produce full requests and proposes narrow request for the following six (6) Request Nos: 15, 16,

19, 62, 68, 70. Plaintiffs cannot agree to Spotify’s narrowing of the requests as it will not address

Plaintiffs request and discovery needs for the litigation. Thus, the basis of this Motion is regarding

the above twelve (12) requests and each will be addressed more specifically below:

         IV.    PLAINTIFFS’ OUTSTANDING REQUESTS AND DEFENDANT’S
                              INSUFFICIENT RESPONSES

       Plaintiffs’ Request for Production Request No. 1
“Documents sufficient to identify ISRC codes for each sound recording embodying an Exhibit A
Musical Composition that has been available on Spotify’s interactive streaming service since
inception.”

Defendant’s Insufficient Response Should be Supplemented

       In addition to boilerplate objections, Defendant objected on the basis that the Request was

overly broad and unduly burdensome “particularly in that it seeks material that has been

available…. since inception for each sound recording embodying an Exhibit A Musical

Composition” and the terms “sound recording,” “embodying,” and “inception” are vague and

ambiguous. Defendant also objected on the basis that “Plaintiffs are the parties who have

knowledge of their catalog and are best suited to provide information related to the ISRC codes

that identify particular sound recordings.” Additionally, Defendant requested “to confirm in

writing that Plaintiffs will provide all relevant ISRC codes and metadata.” (See attached Exhibit

A).

       Defendant has objected to producing full information related to Requests No. 1 because it

relates to ISRC codes. (See attached Exhibit H). Defendant has attempted to shift the burden of

production to Defendant and has argued that it is Plaintiffs’ obligation to produce the ISRC codes.


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Id. Additionally, Defendant has not met its burden in explaining why the Request is overly broad

or unduly burdensome.

       Furthermore, as alleged in the Complaints, each recording delivered to Spotify and made

available to stream on its service is required to have a 12-digit alphanumeric code called an

International Standard Recording Code (“ISRC”). (Doc. 41 at ¶ 59). Spotify requires each sound

recording to have an ISRC code. Id. at ¶ 60. Spotify does not deny this. Spotify even uses ISRCs

in their royalty statements. Id. Therefore, the information is readily ascertainable and available to

produce.

       However, Spotify does not include all of the compositional data (identified in the

Complaint as including the identification of the songwriter(s) and music publishers(s)) for the

underlying composition embodied in a sound recording that Spotify makes available for interactive

streaming and limited download, which makes it very difficult for music publishers to know for

certain whether their musical compositions are streaming on Spotify and to ensure that Spotify is

paying properly for streams of their compositions. Id. As further alleged, Plaintiffs have identified

ISRCs for many of the musical compositions, however, it is not able to obtain all of them. Id. at ¶

61. However, all of those compositions are associated with sound recordings, which upon

information and belief, have been reproduced or distributed on Spotify’s interactive streaming

service without payment to Plaintiffs. Id. However, “Spotify’s opaque and incomplete reporting

makes it very difficult, if not impossible, to identify the extent of its infringement without access

to Spotify’s internal systems and information.” Id. Therefore, the discovery requests related to

ISRC codes are directly part of Plaintiffs’ claims and one of the direct ways Plaintiffs intend to

prove copyright infringement. Further, Spotify has the information and Plaintiffs do not have the




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information necessary to reproduce it. Plaintiffs have no other way of obtaining the information

other than directly from Spotify.

       The request is to identify whether Defendant maintained information regarding the ISRC

codes and whether Defendant had that information to properly match the sound recordings that

were reproduced on its interactive streaming service with the proper musical compositions. It is

relevant as it will allow Plaintiffs to link the recording back to the musical compositions at issue

and identify the recordings that embody the musical compositions that were infringed upon. The

Request will reveal whether Spotify used the compositions without a license at the time of

inception, which constitutes an “initial” infringement. It will also provide evidence as to whether

Spotify properly identified ISRC codes and maintained them in order to match the sound

recordings with musical compositions that were streamed and reproduced on Spotify’s interactive

service.

       If Defendant did not identify ISRC codes that issue is relevant to Plaintiffs’ claims. If

Spotify failed to identify these issues and instead chose to reproduce the recordings without

properly matching or identification, that issue is also relevant to Plaintiffs’ claims. If Spotify did

not, this could constitute an “initial” infringement that carries forward for as long as the musical

composition was reproduced on Spotify’s site. Finally, this is information that Spotify as a global

leader in interactive streaming should readily have available to produce. If Spotify does not have

the information, Spotify can answer that question, but Defendant should not be allowed to turn the

tables on Plaintiffs’ discovery request and demand that Plaintiff produce the information when it

is Defendant themselves that should maintain the information and use it to prevent improper

copyright infringement.

       The Court should order Defendant to produce documents relevant to this request.



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Plaintiffs’ Request for Production Request No. 2

“Documents sufficient to identify ISRC codes for each sound recording embodying an Exhibit A
Musical Composition that was available on Spotify’s interactive streaming service as of the date
the first Complaints were filed, July 18, 2017”.

Defendant’s Insufficient Response Should be Supplemented

       Defendant objected to this Request on the same basis as Request No. 1. (See attached

Exhibit A, Exhibit H). Defendant has not yet met its burden in explaining why the Request is

overly broad or unduly burdensome. This Request seeks similar information to Request No. 1 and

will reveal whether Spotify had knowledge of its infringement and whether Spotify took any action

to match ISRC codes with musical compositions at issue in this litigation.

       The Court should order Defendant to produce documents relevant to this request.

Plaintiffs’ Request for Production Request No. 11

“Log records or a summary document, since inception, sufficient to identify the number of new
ISRCs of the sound recordings Spotify receives from distributors each month, the date they were
received, the date they first went live in the service and the number of corresponding unique notices
of intent sent by Harry Fox Agency (“HFA”) before or within thirty days after making a
phonorecord embodying the musical composition and/or before distributing the work on Spotify’s
interactive streaming service.”
Defendant’s Insufficient Response Should be Supplemented

       In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks documents since inception

and sufficient to identify the number of new ISRCs of the sound recordings Spotify receives from

distributors each month, the date they were received, the date they first went live in the service and

the number of corresponding unique notices of intent” and the terms “log records,” “summary

document,” “new ISRCs,” “sound recordings,” “distributors,” “went live,” “phonorecord,”

“embodying,” and “distributing” are vague and ambiguous. (See attached Exhibit A)




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        In its most recent correspondence, Defendant objected to producing full information related

to Request No 11 because it relates to ISRC codes. (See attached Exhibit H). Defendant has not

yet met its burden in explaining why the Request is overly broad or unduly burdensome.

        This Request similar to Request Nos. 1 and 2 will provide evidence of whether Spotify was

infringing the musical compositions in Exhibit A. If Spotify used the compositions without

properly identifying them and maintaining them then Spotify engaged in the pattern and practice

of willful infringement. See Entertainment v KIDdesigns, Inc., No. 3:03 1129, 2005 U.S Dist.

LEXIS 44386, at *40 (M.D. Tenn. Sep. 14, 2005) (Plaintiffs presented evidence … “from which

a reasonable trier of fact could find that defendant Priddis itself knew of the need to obtain a license

to cover the challenged uses and thereby conclude that Priddis’ belief that the initial HFA licenses

covered its conduct in connection with the Barbie(R) compilations was unreasonable.”).

        Similar to the Court in KIDdesigns, Inc., the fact that a defendant had knowledge that it

needed to obtain a license, even with reasonable belief by the defendant that an HFA license

covered its use, the defendant can still be liable for willful copyright infringement. Id. at 40-41.

During previous meet and confer telephone conferences, Defendant has argued that it relied on

HFA to obtain mechanical licenses. Therefore, all issues dealing with HFA should be discoverable.

These allegations are also contained in the Complaint. (See Doc. 41 at ¶ 47-48). In fact, the

allegation that “At the time that Spotify hired HFA, HFA had a database with less than the number

of recordings and compositions available in the Spotify library” is a direct allegation in this matter.

Id. at 48. As further alleged, due to the insufficient database, Spotify’s piecemeal system, and

HFA’s own lack of a system to comply with compulsory licensing, copyright infringement was

assured. Id. Each of the requests dealing with HFA and the ISRC codes are a direct way for

Plaintiffs’ to further prove Spotify was aware it was infringing and would continue to infringe.



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Despite this, Spotify did not change its systems and went forward streaming music without

obtaining the proper mechanical licenses.

        The Court should order Defendant to produce documents relevant to this request.

Plaintiffs’ Request for Production Request No. 15
“Any non-privileged communications, audits, or opinions relating to Spotify’s potential liability
and exposure as a result of the unlicensed musical compositions available on Spotify’s interactive
streaming service, including any discussion of potential copyright infringement and/or statutory
non-compliance resulting from such unlicensed musical compositions.”

Defendant’s Insufficient Response Should be Supplemented

       In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks any non-privileged

communications, audits, or opinions relating to Spotify’s potential liability and exposure for

unlicensed musical compositions and including any discussion of potential copyright infringement

and/or statutory non-compliance” and the terms “audits,” “opinions,” “relating to,” “potential

liability and exposure,” “statutory non-compliance,” and “unlicensed musical compositions” are

vague and ambiguous. (See attached Exhibit A). Additionally, Defendant objected that the Request

did not include a time frame, is not tailored to the specific works-in-suit, does not specify a set of

individuals such as “Spotify employees” and this Request will touch upon privileged documents.

       In its most recent correspondence, Defendant attempts to argue that Request No. 15 is

already covered by Requests Nos. 6, 73 and 76 (See attached Exhibit H). However, these requests

do not cover the information Plaintiffs are seeking and Defendant’s objections are improper.

Additionally, Defendant has not explained with specificity why the Request is overly broad or

unduly burdensome. Plaintiff is entitled to know whether Spotify has taken a position on its

potential liability for copyright infringement for failure to license yet chose to ignore that position.




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This information is designed to prove Plaintiffs’ claims and damages, including whether there was

willful infringement.

       In an effort to compromise, Plaintiffs agreed to limit the timeframe to any responses to five

(5) years prior to the lawsuit being filed, which would be from July 18, 2012 until the present with

any supplementation also being due prior to trial. (See attached Exhibit D). Further, Plaintiffs

agreed to further define “audit” to mean any audits or reviews conducted by an internal Spotify

employee or external accountant, auditor or business valuation individual or entity that reached an

opinion or conclusion on whether there was potential liability for Spotify’s reproduction of

unlicensed musical compositions, including discussion of potential copyright or infringement

and/or statutory non-compliance resulting from unlicensed musical compositions. Id. Plaintiffs

agreed to define “opinion” pursuant to its ordinary meaning. Merriam-Webster dictionary defines

opinion as “a view, judgment, or appraisal formed in the mind about a particular matter” or a

“belief stronger than impression and less strong than positive knowledge.” Id. This may also

include a formal expression of judgment or advice by an expert, but it may be an opinion by a non-

expert Spotify employee or person hired by Spotify to conduct valuation analysis or opinions on

whether Spotify was acting within the confines of U.S. Copyright law. Id.

       The Court should order Defendant to produce documents relevant to this request.

Plaintiffs’ Request for Production Request No. 16
“Any and all documents in the possession of Spotify, or lobbyists hired by Spotify, relating to
inability to obtain or failure to obtain mechanical licenses for a number of musical compositions
for a number of musical compositions available on Spotify’s interactive streaming service.”

Defendant’s Insufficient Response Should be Supplemented

       In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks any and all documents

including those in possession of lobbyists hired by Spotify and relating to inability to obtain or

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failure to obtain mechanical licenses for a number of musical compositions” and the terms

“lobbyists,” “relating to,” “inability to obtain or failure to obtain mechanical licenses,” and “for a

number of musical compositions” are vague and ambiguous. (See attached Exhibit A).

Additionally, Defendant objected on the grounds of relevancy, specifically that Spotify’s lobbying

efforts relate to the current litigation. Defendant also objected that it is not required to produce

documents that are not in its possession, custody, or control and that the Request was written so

broadly that it would swallow up many of the other Requests. (See attached Exhibit C).

       In its most recent correspondence, Defendant objected to produce the full Request and only

agreed to produce “public statements and non-privileged communications”. (See attached Exhibit

H). This narrow production will not address Plaintiffs request for “any and all documents in the

possession of Spotify relating to Spotify’s lobbyist efforts”. Additionally, Defendant’s objections

are not proper as Spotify has not explained with specificity why the Request is overly broad or

unduly burdensome.

       This Request is relevant as it will show that Spotify had knowledge of its non-compliance

with Section 115 of the United States Copyright Act for sound recordings available on Spotify’s

interactive streaming service. If Spotify took issue with paying mechanical licenses or paying

royalties to publishers and songwriters and advanced that position with publishers, Plaintiffs are

entitled to that information. Additionally, this Request will provide further information of any

steps Spotify took to avoid compliance.

       In an effort to compromise, Plaintiffs agreed to limit the Request to only documents in the

possession of Spotify and further define “lobbyists as a person who takes part in an organized

attempt to influence legislators.” (See attached Exhibit D). The definition of lobbyist includes

those hired by Spotify internally as an individual with job duties designed to influence



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governmental officials or any external entities or individuals hired to influence government

officials. Id. Plaintiffs agreed to limit this Request to individuals or entities hired to influence the

government regarding whether Spotify took a position on the requirement of mechanical licenses

and the payment of mechanical royalties. Id.

        The Court should order Defendant to produce documents relevant to this request.

Plaintiffs’ Request for Production Request No. 19
“Documents sufficient to identify Spotify’s monthly profit and loss statements since 2011,
including itemization of royalties marked as unpaid or compositions indicated as unlicensed.”

Defendant’s Insufficient Response Should be Supplemented

        In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks statements since 2011

including itemization of royalties marked as unpaid or compositions indicated as unlicensed” and

the terms “itemization of royalties marked as unpaid” and “compositions indicated as unlicensed”

are vague and ambiguous. (See attached Exhibit A). Additionally, Defendant objected because

Spotify does not break down its profits and losses by musical composition. (See attached Exhibit

C).

        In its most recent correspondence, Defendant objected to produce the full Request and only

agreed to produce “monthly profit and loss statements.” (See attached Exhibit H). This narrow

production will not address Plaintiffs request for “itemization of royalties marked as unpaid or

compositions indicated as unlicensed.” Additionally, Defendant’s objections are not proper as

Spotify has not explained with specificity why the Request is overly broad or unduly burdensome.

        This Request is relevant as it will provide evidence for Plaintiffs’ claims and damages, as

well as evidence of willful infringement. Plaintiffs cannot adequately calculate damages if

Defendant does not provide complete financial records regarding the musical compositions in


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Schedule A. As stated in Mitchell v. Universal Music Group Inc., No. 3:15-CV-174-JHM 2018

U.S. Dist. LEXIS 54433, at *11-12 (W.D. Ky. Mar. 30, 2018) citing Siriano v. Goodman Mfg.

Co., L.P., 2015 U.S. Dist. LEXIS 165040 at *5 (S.D. Ohio Dec. 9, 2015), a plaintiff cannot

calculate his statutory damages if he does not have access to defendant’s complete financial

records. Defendant cannot in good faith — and do not appear to — argue that the financial

information plaintiffs seek is not highly relevant to this case.

       Plaintiffs have a right to calculate statutory damages by reviewing financial information.

A Defendant’s financial statements and royalty statements are, to the best of the Court’s

knowledge, not publicly accessible and only in their Defendant’s respective possessions. See

Mitchell, No. 3:15-CV-174-JHM, 2018 U.S. Dist. LEXIS 54433, at *12. Plaintiffs are entitled to

discovery relating to the actual damages suffered by Plaintiffs as a result of Defendant’s infringing

conduct. Although Plaintiffs have opted for statutory damages under federal copyright law for all

post-1972 sound recordings, the Court may consider actual damages in determining the

appropriate statutory damage award. See Warner Bros. Inc. v. Dae Rim Trading, Inc., 877 F.2d

1120, 1126 (2d Cir. 1989); Arista Records LLC v. Lime Grp. LLC, No. 06 CV 5936 (KMW), 2010

U.S. Dist. LEXIS 145967, at *13 n.2 (S.D.N.Y. Aug. 6, 2010).

       The Court should order Defendant to produce documents relevant to this request.

Plaintiffs’ Request for Production Request No. 20
“Documents sufficient to identify Spotify’s valuation at each investment round, including any and
all such documents which specifically mention “mechanical licenses,” “statutory damages” under
the United States Copyright Act, or Spotify’s potential liability for copyright infringement”.

Defendant’s Insufficient Response Should be Supplemented

       In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks any and all such documents

which specifically mention “mechanical licenses,” “statutory damages” under the United States

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Copyright Act, or Spotify’s potential liability for copyright infringement” and the terms

“valuation,” “investment round,” and “potential liability” are vague and ambiguous. (See attached

Exhibit A). Additionally, Defendant objected on the basis that the Request did not include a time

frame and is not tailored to the specific works-in-suit. Defendant also objected that Plaintiffs have

access to any publicly available communications Spotify has had with investors and is capable of

reviewing those documents without imposing unnecessary production burdens upon Spotify. (See

attached Exhibit C).

       Defendant has objected to producing full information related to Requests No. 20 (See

attached Exhibit H). Defendant’s objections are improper. This Request is relevant and directly

related to Plaintiffs’ claims, including its claims that Spotify’s business model was to grow its

market share rather than comply with copyright laws. Spotify in the past has identified weaknesses

in its internal control over financial reporting to account to rights holders and as a result it has

caused underpayment/overpayment of royalty amounts.            Plaintiffs are entitled to Spotify’s

financial information. Pursuant to 17.U.S.C. 504(b), “The Copyright Owner is entitled to recover

the actual damages suffered by him or her as a result of the infringement, and any profits of the

infringer that are attributable to the infringement and are not taken into account in computing the

actual damages.” This Court has determined that information that is relevant to calculating

damages is clearly within the scope of discovery. Bridgestone Ams., Inc. v IBM, No. 3:13-cv-

11962016 U.S. Dist. LEXIS 101674, at *9 (M.D. Tenn. Jan. 12, 2016). Plaintiffs cannot adequately

calculate damages if Defendant does not provide complete financial records regarding the Musical

Compositions in Schedule A.

       The Court should order Defendant to produce documents relevant to this request.




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Plaintiffs’ Request for Production Request No. 21
“Documents sufficient to identify any and all documents and communications between music
rights organization(s) and Spotify wherein the music rights organization(s) has mapped/matched
ISRCs for sound recordings available on Spotify’s interactive streaming service to a musical
composition and provided that information to Spotify in chip card interface device (“CCID”), or
other formats.”
Defendant’s Insufficient Response Should be Supplemented

       In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks any and all documents and

communications between music rights organization(s) and Spotify wherein the music rights

organization(s) has mapped/matched ISRCs for sound recordings” and the terms “music rights

organization(s),” “mapped/matched ISRCs,” “sound recordings,” “chip card interface device,” and

“other formats” are vague and ambiguous. (See attached Exhibit A)

       As mentioned above, Defendant has objected to producing full information related to

Requests No. 21 because it relates to ISRC codes. (See attached Exhibit H). Defendant has not yet

met its burden in explaining why the Request is overly broad or unduly burdensome. This Request,

similar to Request Nos. 1, 2, and 11 is relevant as it will reveal whether Spotify used the

compositions without a license. If Spotify used the compositions without properly identifying and

maintaining licenses then Spotify is in engaged in the pattern and practice of willful infringement.

       The Court should order Defendant to produce documents relevant to this request.

Plaintiffs’ Request for Production Request No. 62
 “Copies of all communications, including press releases, approved by Spotify relating to Spotify
removing Victory Records’ sound recordings from its interactive streaming service due, at least in
part, to Spotify’s failure to obtain licenses and/or infringement”.

Defendant’s Insufficient Response Should be Supplemented

       In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks all communications …


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approved by Spotify relating to Spotify removing Victory Records’ sound recordings” and the

terms “approved by Spotify,” “relating to,” “licenses,” and “Victory Records’ sound recordings”

are vague and ambiguous. (See attached Exhibit A). Additionally, Defendant objected on the basis

that “Plaintiffs are only entitled to documents relating to their infringement claims for works-in-

suit.” (See attached Exhibit C).

       In its most recent correspondence, Defendant objected to produce the full Request and only

agreed to produce “press releases and other public statements approved by Spotify relating to

Spotify removing Victory Records…” (See attached Exhibit H). This narrow production does not

address Plaintiffs’ request and will not provide “copies of all communications relating to removal

of Victory Records.”

       Defendant has yet met its burden in explaining why the Request is overly broad or unduly

burdensome. These requests are relevant as it will provide evidence to show that Spotify was

engaged in a pattern and practice of willful infringement. It is Plaintiffs’ position that the request

is very narrowly tailored to identify situations wherein Spotify was put on notice of possible

infringement that are directly similar or substantially related to the facts involved in these lawsuits.

       The Court should order Defendant to produce documents relevant to this request.

Plaintiffs’ Request for Production Request No. 68
“Documents sufficient to identify any and all compositional data related to the Exhibit A Musical
Compositions given to Spotify by foreign mechanical and performance societies.”

Defendant’s Insufficient Response Should be Supplemented

       In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks documents to identify any

and all compositional data related to the Exhibit A Musical Compositions and by foreign

mechanical and performance societies” and the terms “compositional data,” “relating to,” and


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“foreign mechanical and performance societies” are vague and ambiguous. (See attached Exhibit

A). Additionally, Defendant objected on the basis of relevancy of how any data provided by

foreign mechanical and performance societies would Spotify on notice of its alleged non-

compliance with U.S. copyright law. (See attached Exhibit C).

       In its most recent correspondence, Defendant objected to produce Request No. 68 because

of the term “compositional data”. (See attached Exhibit H). However, the term “compositional

data” is used in several of the requests that Defendant has already agreed to produce including

Request No. 22 and Request No. 67, thus Defendant should have an understanding of the definition

of “compositional data.” Furthermore, the term “compositional data” is listed in the Complaint

with a description that includes “identification of the songwriter(s) and music publishers(s)) for

the underlying composition embodied in a sound recording that Spotify makes available for

interactive streaming and limited download”. (See Doc. 41 at ¶ 60).

       This Request is relevant because Spotify is obligated to first get a license to the composition

and second pay mechanical royalties to the designated, rightful administrator and rightsholder(s)

in order to stream recordings of compositions on its service. Spotify has stated in its recent SEC

filing that the reason why it used compositions without a license is that it is not possible to identify

the composition and that it did not have the data to connect the composition to the recording1. This



1
 “There also is no guarantee that we have all of the licenses we need to stream content, as the
process of obtaining such licenses involves many rights holders, some of whom are unknown,
and myriad complex legal issues across many jurisdictions, including open questions of law as to
when and whether particular licenses are needed …” See also “—Difficulties in obtaining
accurate and comprehensive information necessary to identify the compositions embodied in
sound recordings on our Service and the ownership thereof may impact our ability to perform
our obligations under our licenses, affect the size of our catalog, impact our ability to control
content acquisition costs, and lead to potential copyright infringement claims.”
Further stating: “If the information provided to us or obtained by such third parties does not
comprehensively or accurately identify the ownership of musical compositions, or if we are
unable to determine which musical compositions correspond to specific sound recordings, it may
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Request will provide evidence that it is and was possible to identify the composition that the

recording should be connected to. In fact, Spotify was doing this by over 50 music rights entities

around the world. Spotify had data given to it by music rights entities that connected each recording

to a composition; the data was delivered in an electronic format successfully to Spotify and Spotify

ingested, stored and used this data in its database for mechanical royalty payments.

       Outside the United States, Spotify is able to utilize a usage log to companies outside the

United States. For example, GEMA in Germany, SACEM in France, MCPS in France and many

others. Spotify has been told by these entities or societies outside of the United States what sound

recordings attach to certain musical compositions. Spotify sends music rights organizations that

represent compositions a list of every sound recording that is streamed. The music rights

organization then looks over the list of each sound recording that streamed and connect the

recordings to the composition and delivers this information back to Spotify in an electronic format

in a machine language that Spotify demands called CCID. Spotify then ingests this information

into its database and uses it to send royalty payments to the rights holders.

       The information provided to Spotify is the exact same information it needs in the U.S. As

an example, Frankie Valli and the Four Seasons recording the song “Can’t Take My Eyes Off

You” is the same recording and composition in the United States, England, Italy, France, Israel,

Japan, Germany etc. The data does not change in regards to the connection of the recording to the

composition. Plaintiffs believe the documents will prove that Spotify has the information and has

the ability to match sound recordings to the musical compositions but choose not to undertake such

action in the United States because it chose to violate U.S. Copyright law.


be difficult or impossible to identify the appropriate rights holders to whom to pay royalties. This
may make it difficult to comply with the obligations of any agreements with those rights
holders.”

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       The Court should order Defendant to produce documents relevant to this request.

Plaintiffs’ Request for Production Request No. 70
“All documents and communications between National Music Publishers Association (“NMPA”)
and Spotify regarding settlement of any claims against Spotify for copyright infringement and/or
failure to obtain a mechanical license for musical compositions available on Spotify’s interactive
streaming service and/or failure to pay royalties as required under the terms of any existing
license.”

Defendant’s Insufficient Response Should be Supplemented

       In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks all documents and

communications between the National Music Publishers Association (“NMPA”) and Spotify

regarding settlement of any claims” and the terms “any claims,” and “under the terms of any

existing license” are vague and ambiguous. (See attached Exhibit A). Additionally, Defendant

objected on the basis of relevancy and that the Request seeks documents regarding a settlement,

which almost certainly entirely privileged and confidential. (See attached Exhibit C).

       In its most recent correspondence, Defendant objected to produce the full Request and only

agreed to produce “the settlement agreement with the NMPA, subject to any confidentially and

non-disclosure provisions contained in the agreement”. (See attached Exhibit H).

       This Request is relevant as it will provide evidence that Spotify had knowledge that its

procedures failed to identify songwriters and publishers, thus Spotify was willfully non-compliant.

Generally, “the terms of a settlement agreement, even when marked confidential, are not protected

from discovery by privilege.” Choon’s Design Inc. v. Tristar Prods., No. 14-10848, 2017 U.S.

Dist. LEXIS 28101, at *3 (E.D. Mich. Feb. 28, 2017) (Citing State Farm Mut. Auto. Ins. Co. v.

Universal Health Grp., Inc., No. 14-10266, 2016 U.S. Dist. LEXIS 159842 at *2 (E.D. Mich. Nov.

18, 2016) See also In re MSTG, Inc., 675 F.3d 1337, 1348 (Fed. Cir. 2012) (“settlement

negotiations related to reasonable royalties and damage calculations are not protected by a

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settlement negotiation privilege”). Regardless, the claims asserted by NMPA are remarkably

similar to the claims asserted herein. Plaintiffs are entitled to know about Spotify’s position on

these issues in similar litigation and settlements. If Defendant’s claim certain documents are

privileged, Defendant should produce a privilege log. The Court should order Defendant to

produce documents relevant to this request.

       The Court should order Defendant to produce documents relevant to this request.

Plaintiffs’ Request for Production Request No. 81
“Copies all of all fund-raising materials that discuss or mention mechanical royalties or the value
of Spotify based on market share.”

Defendant’s Insufficient Response Should be Supplemented

       In addition to the boilerplate objections, Defendant objected on the basis that the Request

was overly broad and unduly burdensome “particularly in that it seeks all fund-raising materials

and that discuss or mention mechanical royalties or the value of Spotify based on market share”

and the terms “fund raising materials,” “value,” and “based on market share” are vague and

ambiguous. (See attached Exhibit A). Additionally, Defendant objected on the grounds of

relevancy, the Request did not include a time frame and is not tailored to the specific works-in-

suit. (See attached Exhibit C).

       In its most recent correspondence, Defendant refused to produce Request No. 81 and argues

that this Request is covered by Request Nos. 38, 47 and 48 (See attached Exhibit H). Defendant

has not yet met its burden in explaining why the Request is overly broad or unduly burdensome

and why the identified terms are vague or ambiguous. Plaintiffs’ request is clearly relevant, as it

will show Spotify’s failure to obtain a direct or compulsory license and pay mechanical royalties

for musical compositions.

       The Court should order Defendant to produce documents relevant to this request.


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                                       V.    CONCLUSION

       For the reasons stated above, Plaintiffs request that this Court require Defendant to respond

completely to the discovery requests in question, overrule each of Defendant’s objections thereto,

and produce all responsive documents.

Dated: May 16, 2018                           Respectfully submitted,

                                              By: /s/ Richard S. Busch ___________
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                                              Attorneys for Plaintiffs




                                 CERTIFICATE OF SERVICE

       I certify that on 16th day of May, 2018 a true and correct copy of the foregoing has been

filed electronically via the Court’s ECF system. Notice of this filing will be sent by operation of

the Court’s electronic filing system to all parties indicated on the electronic filing receipt. All

other parties will be served by regular U.S. mail. Parties may access this filing through the Court’s

electronic filing system.

                                              /s/ Richard S. Busch ___________




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